          Case 3:17-cv-00477-LRH-CLB Document 179 Filed 06/09/20 Page 1 of 9



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     15                        IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEVADA
     16

     17
           UNION PACIFIC RAILROAD COMPANY,           Case No. 3:17-cv-00477-LRH-CLB
     18    a Delaware corporation,
                               Plaintiff,                     UNION PACIFIC’S
     19    v.                                         REPLY IN SUPPORT OF ITS SEVENTH
                                                       MOTION IN LIMINE TO EXCLUDE
     20    WINECUP GAMBLE, INC., a Nevada                      DEREK GODWIN
           corporation,
     21                        Defendant.
     22

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          Case 3:17-cv-00477-LRH-CLB Document 179 Filed 06/09/20 Page 2 of 9



      1                                                      TABLE OF CONTENTS
                                                                                                                                                Page
      2
          INTRODUCTION: WHY A REPLY BRIEF IS NEEDED ........................................................... 1
      3
          ARGUMENT .................................................................................................................................. 2
      4
          I.        § 213.33 Covers Drainage Design. ..................................................................................... 2
      5

      6   II.       Godwin’s Testimony Does Not Address § 213.33. ............................................................ 5

      7   CONCLUSION ............................................................................................................................... 6

      8

      9

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          Case 3:17-cv-00477-LRH-CLB Document 179 Filed 06/09/20 Page 3 of 9



                             INTRODUCTION: WHY A REPLY BRIEF IS NEEDED1
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      2          UPMIL 7 sought to exclude contributory negligence as an issue and Godwin’s opinion on

      3 that subject. UPMIL 7 raised three alternative grounds, on the last two of which we seek no reply.

      4 On one ground we seek to respond to arguments raised by Winecup but not addressed in our

      5
          initial brief, that being preemption by federal law.
      6
                 In UPMIL 7, Union Pacific argued that the Federal Rail Safety Act (FRSA) preempts
      7
          Winecup’s contributory negligence defense. The FRSA preempts state law—including “[l]egal
      8

      9 duties imposed on railroads by the common law,” CSX Transp., Inc. v. Easterwood, 507 U.S. 658,

     10 664 (1993)—if the Federal Railroad Administration (FRA) has “prescribe[d] a regulation . . .

     11 covering the subject matter of the State requirement.” 49 U.S.C. § 20106(a)(2). The FRA, in fact,

     12 has issued a regulation that specifically covers any “drainage or other water carrying facility

     13
          under or immediately adjacent to the roadbed.” 49 C.F.R. § 213.33. This regulation subsumes the
     14
          subject matter of, and thus preempts, Winecup’s contributory negligence defense. ECF No. 124 at
     15
          4–8. Godwin’s opinion that Union Pacific’s culverts were negligently designed, which does not
     16

     17 assert that Union Pacific violated § 213.33—or even reference the controlling regulation—should

     18 be thus excluded.

     19          Winecup offers two responses to Union Pacific’s preemption arguments: (1) that § 213.33
     20
          covers only the maintenance, not the design, of drainage facilities; and (2) even if § 213.33 covers
     21
          the subject matter of Winecup’s defense, Godwin’s testimony is still relevant to whether Union
     22
          Pacific complied with § 213.33. As explained below, both points are mistaken.
     23

     24

     25

     26

     27 1
          As in prior briefs, the parties will be called Union Pacific and Winecup. Union Pacific’s Motions in
     28 Limine  will be referred to as “UPMIL.”

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          Case 3:17-cv-00477-LRH-CLB Document 179 Filed 06/09/20 Page 4 of 9



                                                     ARGUMENT
      1

      2     I.   § 213.33 Covers Drainage Design.

      3          Winecup says that § 213.33 does not cover the subject matter of its defense because the

      4 regulation “is limited to a railroad’s obligation to maintain a drainage and keep it free of

      5 obstruction” and “does not contain any specification for the size of culverts.” ECF No. 161 at 6–

      6
          8. Winecup thus assumes that an FRA regulation does not cover the subject matter unless it
      7
          explicitly addresses the exact same issue as the alleged state-law claim. That position is wrong for
      8
          two reasons.
      9
                 First, where a federal agency examines a specific issue and decides not to regulate, that
     10

     11 decision can “take[ ] on the character of a ruling that no such regulation is appropriate,”

     12 preempting any state law on the same issue. Ray v. Atl. Richfield Co., 435 U.S. 151, 178 (1978).

     13 Thus, when “FRA examines a safety concern regarding an activity and affirmatively decides that

     14
          no regulation is needed, this has the effect of being an order that the activity is permitted.”
     15
          Burlington N. & Santa Fe Ry. Co. v. Doyle, 186 F.3d 790, 801 (7th Cir. 1999). The Ninth Circuit
     16
          has applied this principle to find preemption based on FRA’s considered decisions not to regulate
     17

     18 certain issues. See Burlington N. R. Co. v. Montana, 880 F.2d 1104, 1106–07 (9th Cir. 1989)

     19 (holding that FRA’s “refusal to adopt a federal caboose requirement” preempted a state statute to

     20 the contrary); Marshall v. Burlington N., Inc., 720 F.2d 1149, 1153–54 (9th Cir. 1983) (holding

     21 that FRA’s conclusion that alerting lights were ineffective in reducing incidents of grade-crossing

     22
          accidents preempted a state law negligence claim that the railroad failed to install on-train
     23
          warning lights).
     24
                 The same reasoning applies here. FRA specifically considered, but did not adopt, a
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     26 culvert-size requirement in § 213.33. As originally proposed in 1971, the drainage regulation

     27 provided in part:

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          Case 3:17-cv-00477-LRH-CLB Document 179 Filed 06/09/20 Page 5 of 9



                     If, after drainage facilities are constructed, there is a significant change in the water
      1              flow adjacent to the roadbed, each existing drainage facility must be modified or
                     additional drainage facilities must be installed, as the case may be, to accommodate
      2              the change.

      3 36 Fed. Reg. 11,974, 11,975–76 (June 23, 1971). After a comment period, FRA promulgated the

      4
          drainage regulation as it exists today—without an affirmative obligation to design new or modify
      5
          existing railroad culverts to accommodate a change in expected water flow. 36 Fed. Reg. 20,336,
      6
          20,339 (Oct. 20, 1971). Moreover, FRA considered modifications to Section 213.33 in 1998. One
      7
          interest group petitioned FRA to expand the drainage regulation “to include more specific
      8

      9 requirements for drainage and water diversion around track roadbeds, addressing water seeping

     10 toward the track, water falling upon the roadbed, cross drainage, and the use of geotextiles.” 62

     11 Fed. Reg. 36,138, 36,147 (July 3, 1997). FRA again declined to adopt any of the recommended

     12
          changes. 63 Fed. Reg. 33,992, 34,004, 34,032 (June 22, 1998).
     13
                     Winecup is thus correct that § 213.33 “embodies no affirmative obligation to add more
     14
          drainage openings to the roadbed,” FRA Letter Opinion, Request for Letter Opinion on Meaning
     15
                                                              2
     16 and Scope of 49 C.F.R. § 213.33, at 2 (Nov. 28, 2017), but that does not mean its contributory

     17 negligence defense survives. Rather, the lack of such a requirement reflects FRA’s intentional,

     18 reasoned judgment that such matters need not be regulated to promote railroad safety. In that

     19 circumstance, “States are not permitted to use their police power to enact such a regulation.”

     20
          Marshall, 720 F.2d at 1154 (quoting Ray, 435 U.S. at 178). On Winecup’s incorrect theory, every
     21
          state—and every municipality—could adopt its own regulation on culvert size. That result would
     22
          totally frustrate Congress’s goal of “[n]ational uniformity of regulation” in rail-safety matters. 49
     23

     24 U.S.C. § 20106(a)(1).

     25              Second, even setting aside FRA’s deliberate decision not to regulate culvert size, FRSA

     26 preemption does not require a federal rule explicitly addressing the exact issue in question.

     27
          2
              See Gallo v. Union Pac. R.R. Co., Case 1:17-cv-00854-RP, ECF #54-27.
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          Case 3:17-cv-00477-LRH-CLB Document 179 Filed 06/09/20 Page 6 of 9



          Because FRSA preemption applies whenever “federal regulations substantially subsume the
      1

      2 subject matter,” it is “unnecessary for the federal regulation to be identical to the state

      3 [requirement] for preemption to apply.” CSX Transp., Inc. v. City of Plymouth, 283 F.3d 812,

      4 816–17 (6th Cir. 2002) (quoting Easterwood, 507 U.S. at 664). For example, no FRA regulation

      5
          governs whether and when a train may block a road crossing. See FRA, Trains Blocking
      6
          Highway-Rail Grade Crossings Fact Sheet, at 1 (May 2008), https://tinyurl.com/y7th9bsu. Yet
      7
          many courts hold that the FRSA preempts state laws on this subject because federal regulations
      8

      9 on train speed, train length, and braking tests sufficiently cover the subject matter. See City of

     10 Plymouth, 283 F.3d at 816–17; see also, e.g., Ass’n of Am. Railroads v. Hatfield, No. 3:18-cv-28,

     11 2020 WL 465023, at *6, __ F. Supp. 3d __ (E.D. Ky. 2020); Lewis v. Norfolk Southern Ry. Co.,

     12 618 F. Supp. 2d 833, 846 (W.D. Tenn. 2008); City of Seattle v. Burlington Northern R. Co., 41

     13
          P.3d 1169, 1174 (Wash. 2002); Village of Mundelein v. Wisconsin Cent. R.R., 882 N.E.2d 544,
     14
          553–54 (Ill. 2008); Krentz v. Consolidated Rail Corp., 910 A.2d 20, 36–37 (Pa. 2006). This case
     15
          is even easier, because § 213.33 expressly covers the subject matter of Winecup’s defense:
     16

     17 “drainage or other water carrying facility under or immediately adjacent to the roadbed.”

     18          Winecup relies heavily on Gallo to avoid preemption, but that decision does not help

     19 Winecup here. In Gallo, the owners of property next to a rail line sued the railroad for damage to

     20
          their property caused by the railroad’s allegedly negligent “design, construction, inspection, and
     21
          maintenance of its railroad embankment and ballast.” Gallo v. Union Pac. R.R. Co., 372 F. Supp.
     22
          3d 470, 476 (W.D. Tex. 2019). The court held that § 213.33 “does not cover state law negligence
     23
          claims by adjacent property owners” because the regulation “is concerned with railroad safety,
     24

     25 not preventing damage to neighboring property.” Id. at 483–84 (emphasis added). That ruling is

     26 consistent with FRA’s own description of § 213.33 as “not cover[ing] neighboring property

     27 unrelated to the safety of railroad operations,” see FRA Letter Opinion 2–3, and with other cases

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          Case 3:17-cv-00477-LRH-CLB Document 179 Filed 06/09/20 Page 7 of 9



          emphasizing “the silence of § 213.33 on a railroad’s duties to its neighbors,” MD Mall
      1

      2 Associates, LLC v. CSX Transportation, Inc., 715 F.3d 479, 491 (3d Cir. 2013) (emphasis added).

      3             In sharp contrast, this case does not involve “a railroad’s duties to its neighbors” or
      4 “damage to neighboring property”; it involves damage to Union Pacific’s own track. Unlike the

      5
          neighboring landowners’ negligence claims in Gallo, Winecup’s contributory negligence defense
      6
          directly addresses the “roadbed and areas immediately adjacent to roadbed,” FRA Letter Opinion
      7
          2; accord 49 CFR § 213.31, which in turn directly impact railroad safety. Winecup’s defense thus
      8

      9 falls in the heartland of § 213.33, which serves to “reduce the risk of train derailments caused by

     10 flood damage to railroad tracks and structures.” FRA Letter Opinion 3 (emphasis added).

     11 Because Gallo addresses a different type of claim that does not implicate “railroad safety,” id. at

     12 2, it is not useful here. 3

     13
              II.   Godwin’s Testimony Does Not Address § 213.33.
     14
                    Winecup argues that even if § 213.33 covers the subject matter of its contributory
     15
          negligence defense, that would merely establish that § 213.33 supplies the controlling standard of
     16
          care, and “Godwin’s testimony would still be relevant to interpreting section 213.33.” ECF No.
     17

     18 161 at 8. Winecup is only half right, however. True, the FRSA does not bar a claim “alleging that

     19 a [railroad] has failed to comply with the Federal standard of care established by a regulation.”

     20 49 U.S.C. § 20106(b)(1). So Winecup theoretically could try to hold Union Pacific contributorily

     21
          negligent for violating § 213.33. But Winecup has not made that case. Its expert Godwin did not
     22

     23   3
            Winecup also suggests that “negligence-based claims are not preempted by the FRSA or its corresponding
          regulations.” ECF No. 161 at 7–8 n.4. That too is incorrect. Easterwood, the Supreme Court’s leading FRSA
     24   preemption case, held that regulations requiring certain warning devices at road crossings “preempt all state
          negligence claims regarding the adequacy of the safety requirements at the crossing.” Union Pacific R. Co. v. Calif.
     25   Pub. Utilities, 346 F.3d 851, 865 (9th Cir. 2003) (emphasis added); see Easterwood, 507 U.S. at 664, 675
          (emphasizing FRA’s “power to preempt state common law”). The cases Winecup cites either involve flooding
          claims by neighboring landowners (as in Gallo), see MD Mall Assocs., 715 F.3d at 493–95; Jeffers v. BNSF Ry. Co.,
     26   No. 14-CV-188, 2014 WL 1773532, at *1, 5 (W.D. La. May 1, 2014), or simply hold that other FRA regulations
          addressing different topics did not preempt other negligence claims on different facts, see Strozyk v. Norfolk Southern
     27   Corp., 358 F.3d 268, 269 (3d Cir. 2004) (warning-device regulation “does not cover claims of limited visibility and
          negligent maintenance” at crossings); Shanklin v. Norfolk Southern Ry. Co., 369 F.3d 978, 986 (6th Cir. 2004)
          (similar). These cases are not useful here either.
     28
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          Case 3:17-cv-00477-LRH-CLB Document 179 Filed 06/09/20 Page 8 of 9



          even acknowledge that § 213.33 exists, let alone try to show that Union Pacific violated it.
      1

      2 Instead, his entire opinion rests on the premise that Union Pacific’s internal technical manual for

      3 industry track supplies the controlling standard of care. Because that premise is wrong, Godwin’s

      4 testimony has no bearing on any “fact in issue.” Fed. R. Evid. 702(a) (2020). It should be

      5
          excluded.
      6
                                                   CONCLUSION
      7
                 Union Pacific respectfully requests that the Court grant UPMIL 7 and bar generally,
      8
          Winecup’s contributory (comparative) negligence defense and, in particular, Godwin’s opinion that
      9

     10 Union Pacific was negligent.

     11
          Date: June 9, 2020                    Respectfully submitted,
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     13
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                                          CERTIFICATE OF SERVICE
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      2
          and that on June 9, 2020 I filed a true and correct copy of the foregoing document with the Clerk
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      4 through the Court’s CM/ECF System, which sent electronic notification to all registered users

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